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                         EXHIBIT 10
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                       Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


              SUPPLEMENTAL DECLARATION OF LOGAN LAMB

LOGAN LAMB declares, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

                                       Background and Credentials

      1. My name is Logan Lamb. I am a cybersecurity researcher based in Santa Monica,

         California.

      2. I have a Bachelor of Science and Master of Science degrees in computer engineering

         from University of Tennessee, Knoxville.

      3. I have worked professionally in cybersecurity since 2010 when I started at Oak Ridge

         National Lab in the Cyber and Information Security Research group. In that position, I

         specialized in static and symbolic analysis of binaries, red-teaming prototype critical

         infrastructure, and de-identifying geospacial data.




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      4. I now work for the micromobility company Bird as a Senior Vehicle Security Engineer.

          In this role I protect Bird’s fleet from both hardware and software-based hacking

          attempts.

      5. I hereby incorporate my previous declaration as if fully stated herein. (Dock. 258, p. 126)

          In summary, in August 2016 I discovered serious vulnerabilities affecting

          elections.kennesaw.edu. The website was misconfigured so that it leaked confidential

          election data and the version of its content management system, Drupal, was out of date

          and vulnerable to a well-known exploit called drupageddon. An announcement from the

          Drupal security team on October 29, 2014 details how severe this vulnerability is, stating

          that if a vulnerable Drupal server was not updated within 7 hours of the announcement it

          should be assumed compromised. The Drupal software was still vulnerable in August

          2016.1

      6. Despite these warnings, KSU continued running the vulnerable version of Drupal until

          August, 2016, almost two years after patches were made available.

      7. The server running elections.kennesaw.edu was taken offline on March 2 nd, 2017 after

          KSU was notified a second time the server was still leaking sensitive election data. A

          forensic image of this server was created on March 6 th, 2017 by the FBI.

      8. The forensic image created by the FBI was provided to me in late December 2019 by

          CGG after I signed the protective order. After receiving a copy of the forensic image I

          confirmed the image was an exact copy of the one created by the FBI by comparing the

          SHA1 hash of the image to that provided to me.




1
    https://www.drupal.org/PSA-2014-003

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      9. On January 1, 2020 I began conducting a forensic audit of the provided image of the

          server running elections.kenessaw.edu.

      10. The server image appears to contain all the files, databases, logs, and programs that were

          saved on the server when it was copied by the FBI on March 6 th, 2017.

      11. From my initial review of the server, I have four novel findings so far:

              a. There is evidence which suggests the server was compromised in December,

                  2014, well before the 2016 election.

              b. Access logs which would be critical to forensic work only go back to November

                  10, 2016, two days after the 2016 election.

              c. Election related files were deleted on March 2 nd prior to taking the server offline

                  and prior to the FBI creating an image.

              d. The version of BallotStation used by Georgia, 4.5.2!, is likely vulnerable to

                  exploits affecting BallotStation 4.3.15 and beyond. Critical exploits affecting

                  version 4.3.15 were documented in 2006.2

      12. In the following sections I will expand on the above findings.

                                      INDICATORS OF COMPROMISE

      13. I found evidence which suggests a well-known attack named “shellshock” was

          successfully used against the server. The attack exploits a bug in common server software

          and gives the attacker full control of the computer. The Shellshock bug was so

          widespread, easy to exploit, and potentially devastating that when it was discovered in




2
    https://s3.amazonaws.com/citpsite/wp-content/uploads/2019/01/23191614/ts06full.pdf

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        September of 2014 it received significant media attention and dire warnings from the

        Department of Homeland Security.3

    14. Despite those warning, CES did not patch the bug for months.

    15. On December 2, 2014, while the KSU server remained vulnerable, a new user named

        “shellshock” was created on the server. I have created the below timeline of activity

        related to the shellshock user after fusing logging data from multiple sources. The

        timeline may not be complete:

    16. 12/2/2014 10:45 – the user mpearso9 is modified using the Webmin console

        12/2/2014 10:47 - shellshock user created using Webmin console

        12/2/2014 10:49 - /home/shellshock/.bash_history last modified

        12/2/2014 11:02 - /home/shellshock/shellsh0ck file is deleted

        12/2/2014 11:06 - bash patched to version 4.2+dfsg-0.1+deb7u3 to prevent shellshock

        12/2/2014 11:40 - shellshock user disabled using Webmin console

    17. The file named “.bash_history” is a kind of log that typically records all the commands a

        user executes. For this user, though, the file contained a single command to logout of the

        server. The single command to logout is suspicious since a file was created and deleted in

        the user’s home directory, leading me to believe the “.bash_history” has been modified.

        This indicates to me that the “shellshock” user may have been hiding their activities.

    18. When an attacker breaks into a server, it is common that they fix the bug that gave them

        access. That way, the attacker can keep control while keeping other would-be attackers

        out. That appears to be what happened on the KSU server. Just 20 minutes after the

        “shellshock” user was created, the logs show that the shellshock bug was patched.


3
 For a contemporary report, see https://www.nytimes.com/2014/09/26/technology/security-experts-expect-
shellshock-software-bug-to-be-significant.html

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19. The long unpatched software, unusual username, potentially modified command history,

   and near immediate patching of the shellshock bug are all strong pieces of evidence that

   an outside attacker gained access to the KSU server by exploiting the shellshock bug.

   There may still be other explanations. It is possible, for example, that a CES employee

   used a convoluted method of patching shellshock on December 2 nd, 2014. Additional

   forensics need to be done to confirm the attack and determine what the attacker may have

   done with their access to the server.

20. If an attacker did indeed exploit the shellshock bug, then they would have had almost

   total control of the server including the abilities to modify files, delete data, and install

   malware.

                                           MISSING LOGS

21. The website software, Drupal, was configured to maintain an access log. The access log

   contains all requests made to the webserver. If an attacker attempted to exploit

   drupageddon on the webserver then it would be apparent in the access log. However, the

   access log records on the server only go back to November 10, 2016, two days after the

   2016 election.

22. The access logs will retain information indefinitely unless configured to automatically

   delete the oldest records based on age.

23. The missing logs could be vital to determining if the server was illegally accessed before

   the election, and I can think of no legitimate reason why records from that critical period

   of time should have been deleted.




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                                 FILES DELETED PRIOR TO FBI HANDOFF

      24. In addition to the missing logs, there are also scores of files deleted on March 2 nd, 2017.

           Some of the files appear to be unusually deleted and directly related to elections. Using

           the software “TestDisk,”4 I was able to do a forensic search of the server image to find

           deleted files. I found many files deleted on March 2 nd, 2017, just before the server was

           taken offline by the CES/KSU staff and the original server handed over to the FBI. I have

           not yet been able to determine what these deleted files were, but include the filenames

           below which I believe are related to elections and were deleted on March 2 nd, 2017.:

           2-Mar-2017 12:15 /countyfolders/Appling County/ExpressPoll/Proof/Ballots/1-90-NP-

           FB.pdf

           2-Mar-2017 12:15 /countyfolders/Appling County/ExpressPoll/Proof/Ballots/1-90-NP-

           FB.pdf

           2-Mar-2017 12:15 /countyfolders/Appling County/Proof/Ballots/1-90-NP-FB.pdf

           2-Mar-2017 12:15 /countyfolders/Appling County/Proof/Ballots/1-90-NP-FB.pdf

           2-Mar-2017 12:15 /countyfolders/do_not_use.php

           2-Mar-2017 12:15 /countyfolders/do_not_use.php

           2-Mar-2017 12:15 /countyfolders/Murray County/Proof/Audio/Murray Audio.zip

           2-Mar-2017 12:15 /countyfolders/Murray County/Proof/Audio/Murray Audio.zip

                     GEORGIA MACHINES VULNERABLE TO KNOWN ATTACKS

      25. In the server image I found three files which indicate the DREs in Georgia running

           BallotStation 4.5.2! are vulnerable to exploits affecting BallotStation 4.3.15:

               a. explorer.glb – this file is used as a backdoor to log into Windows CE on a DRE



4
    https://www.cgsecurity.org/wiki/TestDisk

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       b. BS_CE-TSR6-4-5-2!-DS.ins – a script which installs BallotStation on an

           Accuvote TS

       c. BS_CE-TSX-4-5-2!-DS.ins – a script which installs BallotStation on an Accuvote

           TSX

26. I was able to extract BallotStation.exe from BS_CE-TSX-4-5-2!-DS.ins and confirm the

   DES key F2654hD4 is in it. Because this encryption key has been publicly known for

   years, it means that anyone with access could have decrypted and altered data the DREs

   were meant to protect. That is, any encryption done by the DREs could have been

   trivially undone, and that important layer of security would have been totally ineffective.

27. The inclusion of this DES key indicates Georgia’s version of BallotStation is likely very

   similar to version 4.3.15 which was extremely vulnerable to compromise. Like all the

   other data on the server, it was poorly secured could have been tampered with.

                                  OTHER BAD PRACTICES

28. According to Michael Barnes’ testimony, the server was supposed to be used for a few

   limited purposes. In reality, it appears elections.kennesaw.edu was the primary server for

   CES and was used for a wide variety of purposes. It includes copies of BallotStation to be

   installed on the DREs; databases of pollbook data for every registered voter in the state,

   including personally identifiable information; GEMS database files for numerous

   Georgia elections; training materials, and related machine and file passwords. The server

   even had installer files for Adobe Photoshop. A cursory review of these other files saved

   on the server show some other bad cybersecurity practices putting components and

   election files across the state at risk of intrusion and compromise.




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29. The election and business files on this potentially compromised server appear to be of the

   type transferred between various parts of the State’s election infrastructure over many

   years. As Dr. Halderman stated in his Declaration, “Although the KSU server itself was

   decommissioned in 2017, many of these potentially infected computers likely remain in

   use with the BMD-based system.” (Doc . 692-3 ¶4). I agree with his conclusion.

30. It is unreasonable to assume that the new BMD election system and supporting

   infrastructure is not already potentially compromised or exposed to malware or given the

   broad range of election files on the CES elections.kennesaw.edu server.

31. Forensic analysis of the DRE components should be conducted to fully understand the

   nature of potential past compromises and to properly assess the current and future threat

   to the BMD system components and the systems that feed it, like the voter registration

   system.




I declare under penalty of perjury that the foregoing is true and correct and that this

                              14 th day of January, 2020.
declaration was executed this __




                                           LOGAN LAMB




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